Case 1:19-CV-00866-RC Document 18-1 Filed 04/03/19 Page 1 of 27

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'“"“’ LAW C£NTER

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S PLC ,A-'A Southern Poverty Law Center g NAT[ONAL

 

April 3, 2019

Office of the General Counsel
Attn: John Mitn.ick
U.S. Department of Horneland Security

 

245 Murray Lane, SW n On[

Mail stop 043 5 ServiceAccepred m Official Cap§€?/ y y 2(6 pa
Washingmn, D.C. 20523 Re¢eived Per nat Serwce on

oge@hq.dhs.gov by (L\O f-":'/C/

 

U.S. Attorney’s Oftice

Attn: Kenny Saffles & Leah Mclanahan
800 Market Street, Suite 211

Knoxville, TN 37902

Kenny. Saffles@usdoj . gov
Leah.MeClanahan@usdoj.gov

RE: Touhy Request/ Document Subpoena to DHS related to Zelaya, et al. v. Miles, et al.,
3:19-CV-00062 (E.D. Tenn.)

Dear Counselors:

Enclosed please find a subpoena for documents being served upon the U.S. Department of
Homeland Security (DHS) on behalf of the Plaintiffs in the abovementioned matter. The
subpoena seeks a list that identities the name and rank of the agents involved in the planning and
execution of the Intemal Revenue Service search Warrant of the Southeastem Provision plant on
April 5, 2018 in Bean Station, Tennessee. A redacted version of the list this subpoena requests
Was produced by DHS to the National lmmigration Law Center (NILC) pursuant to an April 2,
2019 order of the U.S. District Court for the District of Columbia in NILC v. DHS, et al., 1119-
ev-00866 (RC) (D.D.C. filed Mar. 26, 2019).

The subpoena is being served pursuant to Federal Rule of Civil Procedure 45, the procedures Set
forth in 6 C.F.R. § 5, er seq., and order of the U.S. District Court for the Eastern District of

Ten.nessee (Doc. 44).

As the requested document has been identified and produced in redacted form already,

Plaintiffs request DHS produce a version of the List with the names and ranks of the agents
unredacted by April 4, 2019 at 12:00 p.m. EST. Plaintiffs request production of the fully

unredacted List by April 15, 2019 at 5:00 p.m. EST.

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Please do not hesitate to contact us with any questions at the below telephone numbers and/or
email addresses

Sincerely,

s/ Meredith B. Stewart

Meredith B. Stewart

Southern Poverty Law Center
201 St. Charles Ave., Suite 2000
New Orleans, LA 70170

(504) 486-8982
meredith.stewart@splcenter.org

s/ Araceli Martinez-Olguin
Araceli Martinez-Olguin

National Immigration Law Center
3450 Wilshire Blvd. #108 m 62
Los Angeles, CA 90010

(213) 797-7420
martinez-olguin@nilc.org

Attomeys for Plaz`n tt`ffs

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A() 888 (Rev. 02/14) Subpoena to Produce Doculnents, lnformation, or Objects or to Perrnit lnspecn`on of Premises in a (`ivil Action

UNITED STATES DISTRICT CoURT

for the
Eastern District of Tennessee

|sabe| Zelaya, et al.

Plaintij”
V.

 

Civil Action NO_ 3219-CV-00062-PLR-HBG

Jere Mi|es, et al.
Dejcndnnl

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

TO; U.S. Depar'tment of Horne|and Security, c/o John Mitnick, Genera| Counse|, 245 N|urray Lane SW,
Mail Stop 0485, Washington D.C. 20528

(Name of person to whom this subpoena is directed)

d Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material; See attached addendum

 

Place: Attn: Meredith Stewart Dat€ and Tim€?

metedith.stewart@sp|center.org 04/04/2019 1200 pm

13 inspection ofPremises.' YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

Place: Date and Time: |

 

 

The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(¢), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Dme; 04/03/2019

CLERK OF COURT
OR

 

 

Signa!ztre of Clerk or Depu[y Clerk At.torney 'S signature

The name, address, e-mail address, and telephone number of the attorney representing maine ofpany) P|Binfiff$

|zabe| Zelaya, et al. , who issues or requests this subpoena, are:

Merec|ith Stewart,20‘[ St.Charles Ave,Suite 2000,New Or|eans,LA 70170,504-486-8982,meredith.stewart@sp|center.org

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

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AO SSB (Rev. 02!14) Subpoena to Protfuce Document.s, lnformation, or Objects or to Pennit lnspection of Preinises in a Civil Action (Page 2)

 

Civi] Action NO_ 3:19-cv-00062-P[_R-HBG

PROOF OF SERVICE
(Tlu`s section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for maine of individual and rule, ifany)

 

011 (dare)

|:l I served the subpoena by delivering a copy to the named person as follows:

 

 

on (dare) ; or

 

|:I I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are 3 for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server 's signature

 

Prin!ed name and title

 

Server’s address

Additional information regarding attempted service, etc.:

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AO 883 (Rev. 02/14) Subpoena to Produce Documents, Information, or ()bjects or to Pennit inspection of Premises in a Civil Action(Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(l) For a Trr`al, Heurr°ng. or Deposr`tr'on. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person` if the person
(i) is a party or a party'$ ot`ficer; or
(ii) is commanded to attend a trial and would not incur substantial
expense

(2) For Orlrer Dr`scovery. A subpoena may command:

(A) production ofdocuments, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employcd, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(l} Avor`dr‘ng Undue Burden or Expense; Sanct.ions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction_which may include
lost earnings and reasonable aftomey’s fees_on a party or attorney who
fails to comply.

(2) Commurrd to Prod'uce Materr'uls or Pernu`r hrspecn`on.

(A} Appenrance Nor Required. A person commanded to produce
documents, electronically stored infonnation, or tangible things, or to
permit the inspection ofpremiscs, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition
hearing, or triai.

(B) Objecrions. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying. testing, or
sampling any or all ofthe materials or to inspecting the premises-or to
producing electronically stored information in the form or forms requested
The objection lnust be served before the earlier ofthe time specified for
compliance or 14 days after the subpoena is servcd. lf an objection is made.
the following rules apply;

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
Order Compelling production or inspection

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance

(3) Quashing or Modij:vr'ng a Subpoena.
(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that;
(i) fails to allow a reasonable time to comply',
(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);
(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or
(iv) subjects a person to undue burden
(B) eren Permirred. To protect a person subject to or affected by a
Subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena ifit requires:
(i) disclosing a trade secret or other confidential research,
development, or commercial infonnation; or

(ii) disclosing an unretaincd expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert's
study that was not requested by a party.

(C) S,oecgfi)r'ng Condiu'ons as un Alternutive. in the circumstances
described in Ru|e 45(d)(3)(B). the court may, instead ofquashing or
modifying a subpoena, order appearance or production under specified
conditions ifthe serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated

(e) Duties in Responding to a Subpoena.

( l) Producr`ng Documeuts or Electronically Stored Informurion. These
procedures apply to producing documents or electronically stored
infonnation;

(A) Docurnenrs. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course ofbusiness or
must organize and label them to correspond to the categories in the demand

(B) F orm for Prodircing Elecrronr'coll'y Srorea' information Not Speclfieci
lfa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Eleclronicallv Storea' lnformalion Produced in Onfy One Form. The
person responding need not produce the same electronically stored
information in more than one forrn.

(D) inaccessible Electronically Srored ]nformrrtion. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as nut reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost lt`that showing is
made. the court may nonetheless order discovery from such sources ifthe
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery,

(2) Clur`ming Prr'vr'lege or Protectr'on.

{A) information Wirhhefd. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communicationsq or
tangible things in a manner that, without revealing information itself
privileged or protected1 will enable the parties to assess the claim.

(B) lnformarr'on Producea'. lf information produced in response to a
subpoena is subject to a claim of privilege or ofprotection as
trial-preparation material, the person making the claim may notify any party
that received the information ofthe claim and the basis for it. After being
notified, a party must promptly retum, sequester, or destroy the Speciiied
information and any copies it has; must not use or disclose thc information
until the Claim is resolved; must lake reasonable Steps to retrieve the
information ifthe party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination ofthe claim. The person who
produced the information must preserve the information until the claim is
resolved

(g) Contempt.

The court for the district where compliance is requirediand also, after a
motion is transferred, the issuing court-may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

For access to subpoena materials, see Fed. R. Civ. P, 45(a) (`ommittee Note (20[3}.

 

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EXHIBIT A TO FORM AOSS - SUBPOENA IN A CIVIL CASE
ln accordance with Fed. R. Civ. P. 45, you are commanded to produce and permit
inspection of the following objects described below, at the place, date and time specified on the
subpoena Please email the objects to the following addresses by the date specified on the
subpoena:
Attn: Meredith Stewart

meredithstewart@splcenter.org
tori.guy@splcenter.org

You should produce all documents and things in your custody, possession or control, as
well as those in the possession, custody or control of your employees, agents, companies
corporations partners, attorneys and all others from whom you may reasonably obtain them. lf
the documents are electronically stored, all available versions of the documents should be
produced on a compact disc in their native format(s) and without making any alterations or
changesl For example, if the original document was created in Microsoft Word, please produce
the Microsoft Word document by copying it to a disc without making any changes If your
responses will include electronically stored information, we ask that you or your attorney (if you
are represented by one) contact Plaintiffs’ counsel Meredith Stewart (504-486-8982) or Araceli
Martinez-Olguin (213-797-7420) to discuss appropriate production of such electronically-stored
information in accordance with the federal rules.

if you contend that any materials encompassed by this request are subject to privilege,
you must comply with the requirements of Fed. R. Civ. P. 45(d) in responding to this subpoena

DEFINITIONS
l. The word “DOCUMENT” includes all “writings,” "recordings,” and “photographs,” as

those terms are defined in Federal Rule of Evidence 1001, and should be construed in the

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broadest sense permissible. Accordingly. “document” includes, but is not limited to. all written,
printed, recorded or graphic material, photographic matter, sound reproductions, or other
retrievable data (whether recorded, taped, or coded electrostatically, electromagnetically,
optically or otherwise on hard drive, diskette, compact disk, primary or backup tape, audio tape,
video tape, or DVD) from whatever source derived and however and by whomever prepared,
produced, reproduced, disseminated, or made. Without limiting the generality of the foregoing,
“document"' includes the original and any non-identical copy and also every draft and proposed
draft of all correspondence, internal memoranda, telegrams, telexes, facsimiles, electronic mail,
reports, text messages, transcripts of telephone conversations, diaries, notebooks, minutes, notes,
tests, reports, analyses, studies, testimony, speeches, worksheets, maps, charts, diagrams,
computer printouts, online profiles, postings, messages (including, without limitation, tweets,
replies, retweets, direct messages, status updates, wall comments, groups joined, activity streams,
and blog entries), and other writings or materials of any nature whatsoever, whether or not
divulged to other parties, together with any attachments thereto and enclosures therewith ln
addition, the word “document” encompasses all forms and manifestations of electronically or
optically coded, stored, and/or retrievable information, including but not limited to ‘“e-mail,”
"voice mail,” digital images and graphics, digital or analog audiotapes and files, and digital or
analog videotapes and files.
2, With respect to a person, the word “lDENTlFY," or any version thereof, shall mean to
Specify the person’s:

(l) Full name;

(2) Title',

(3) Agency/Department;

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(3) All known telephone numbers; and

(4) All known addressesl
3. “DHS” refers to the following Department of Homeland Security subcomponents:
Immigration and Customs Enforcement, Homeland Security Investigations, and Enforcement
and Removal Operations.
4. “OFFICER AND/'OR EMPLOYEE"' refers to any individual, in his official capacity;

employed by DHS or acting on its behalf.

5. “SUPERVISOR” refers to any DHS OFFICER AND/OR EMPLOYEE with supervisory
duties.
6. The singular includes the plural and vice versa; “any” or “each” should be understood to

include and encompass “all”; “or” should be understood to include and encompass “and"'; “‘and"’
should be understood to include and encompass “or”; and “any” should be understood to include

and encompass “any" and "every.”

7. The term “relating to._” “re|ate to,” or “related to” means all matters or things7 which in
any way discuss, support, are connected to, arise from, reflect, summarize, evaluate or comment

on the subject in question.

S. The terms “and” as well as “or"` shall be construed either disjunctively or conjunctively in
order to bring within the scope of the specifications stated in a Request all responses that might

otherwise be deemed outside the scope.

9. The use of a verb in any tense shall be construed as the use of the verb in all other tenses,
whenever necessary to bring into the scope of the specification all responses which might

otherwise be construed outside the scope.

10. The use of any masculine or feminine pronoun includes both the masculine and feminine.

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YOU ARE COMMANDED to produce and permit inspection and copying of the following
documents or objects:
¢ An unredacted version of the lO-page document (the List) that the U.S. Department of
Homeland Security produced to the National Immigration Law Center on April 2, 2019
pursuant to the April l order of the U.S. District Court for the District of Columbia in

NILC v. DHS, el al., l:19-cv-00866 (RC) (D.D.C. filed Mar. 26, 2019), attached hereto as

Exhibit A.'

 

l Plaintiffs request that DHS produce a version of the List with the names and ranks of the agents
unredacted by April 4, 2019 at 12:00 p.m. EST. Plaintiffs request production of the fully
unredacted List by April 15, 2019 on 5:00 p.m. EST.

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IN THE UNITED STATES DISTRICT COURT
EASTER_N DISTRICT OF TENNESSEE
KNOXVILLE DIVISION

ISABEL ZELAYA, et al.,
Civil Action No. 3:19-cv-00062-PLR-HBG
Plaintiffs,
v.
JERE MILES, et al. CLASS ACTION
Defendants.

 

 

DECLARATION OF MEREDITH B. STEWART IN SUPPORT OF THE SUBPOENA
TO THE U.S. DEPARTMENT OF HOMELAND SECURITY

l, Meredith Stewart, do declare and say the following:

l. My name is Meredith Stewart. I am over the age of 18 years and am competent to
give this Declaration. l am a resident of New Orleans, Louisiana.

2. I work for the So'uthern Poverty Law Center, and l am one of the attorneys for the
Plaintiffs in Zelaya, et al. v. Miles, et al., 3:19-cv-00062.

3. l submit this Declaration in support ofPlaintiffs’ subpoena to the U.S.
Department of Homeland Security (“DHS”) for records related to the identities of the Doe
Defendants in this matter and in compliance with the DHS regulations at 6 C.F.R. § 5 et seq.

4. The subpoena will be served on the DHS Office of General Counsel in
Washington D.C. in accordance with 6 C.F.R. §§ 5.41 and 5.43, as well as Counsel for
Defendant J ere Miles at the U.S. Attorney’s Office for the Eastern District of Tennessee.

BACKGROUND ON THE PROCEEDINGS
5. Plaintiffs and the putative class members are individuals of Latino ethnicity or

race who were working in the Southeastern Provision meatpacking plant (“Plant”) on April 5,

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2018 when dozens of DHS agents from lmmigration and Customs Enforcement (“ICE”),
Homeland Security Investigations (“HSI"), and Enforcement and Removal Operations (“ERO")
raided the Plant during the execution of an Internal Revenue Service search warrant for
documents ("the Raid"`). Plaintiffs allege that the agents’ conduct during the Raid violated their
rights under the Fourth and Fifth Amendments to the U.S. Constitution. Plaintiffs also allege
that the agents conspired to violate the Plaintift`s’ and the class members’ fundamental rights in
the planning and the execution of the Raid.

6. Plaintiff`s, on behalf of themselves and the proposed class, filed the lawsuit on
February 21, 2019 against officers from ICE, in their individual capacities, for damages and
declaratory relief See Pls’ Compl., Doc. l. Plaintiffs are suing nine named ICE agents and
thirty unknown Doe Defendants/ ICE agents

7. On February 25, 2019, Plaintif`fs filed a Motion for Leave to Take Expedited
Discovery for the limited purpose of ascertaining the identifies of the Doe Defendants. Doc. 9. In
that Motion, Plaintiffs described the measures they have taken to identify the Doe Defendants,
including making two Freedom of Information Act (FOIA) requests to DHS, making an Open
Records Act request to the Tennessee Highway Patrol, conducting an extensive review of media
coverage of the Raid, and attempting to contact the U.S. Attorney’s Office to discuss obtaining
the Doe Defendant identities Doc. 10, at 7-8.

8. Defendant Miles opposed Plaintiffs’ l\/lotion stating, inter alta, that the “Plaintiffs
should seek information from DHS records from the United States (through its agencies) by
serving third-party discovery . . . .” See Doc. 24. Defendant also argued that the DHS’ Touhy
Regulations, codified at 6 C.F.R. 5 § et seq., apply to any request for information from DHS or

its current or former employees

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9. On March 12, 2019, Plaintiffs sought the consent of counsel for Defendant Miles
to a motion for leave to issue a subpoena to DHS. Counsel for Defendant Miles declined to
consent or join in that motion. On March 14, Plaintiffs filed a Reply brief requesting leave of
Court to issue this subpoena to Dl-IS.

10. On March 26, 2019, the National Immigration Law Center (“NILC”) filed a
lawsuit against DHS and ICE under the Freedom of Information Act (“FO[A”) for injunctive
relief to compel the disclosure and release of documents from DHS and ICE requested in a
December 7, 2018 FOlA Request for the names, ranks, and office addresses of the agents
involved in the raid. See NILC v. DHS, et af., l:l9-cv-00866 (RC) (D.D.C. filed Mar. 26, 2019).

ll. On April l, 2019, the U.S. District Court for the District of Columbia ordered
DHS/ICE to produce a document identifying the agents involved in the raid. On April 2, 2019,
DHS/ICE produced a lO-page document that included the names and titles of the agents involved
in the raid. The names, ranks, and ostensibly all other personal identifying information about the
agentsJ were redacted See April 2 List, Doc. ID 2019-ICLl-00027, attached hereto as Exhibit A
("`the List”).

12. On April l, counsel for the Parties, including the undersigned, attended a hearing
before Magistrate Judge Bruce Guyton on Plaintiffs’ l\/lotion for Expedited Discovery (Doc. 27)
and the United States’ Motion for a Protective Order to prevent public disclosure of the
‘“personal information” of Defendants (Doc. 27). During that hearing, Assistant U.S. Attomey
Kenny Saffles informed the Court that the United States is got seeking to include the
Defendants’ names within the scope of the protective order it is seeking

13. On Apri_l 2, 2019, the Court granted Plaintiffs’ motion for leave to issue a

subpoena to DHS. Doc. 44.

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NATURE AND RELEVANCE OF THE DOCUMENTS

14. Plaintiffs serve this subpoena on the DHS General Counsel pursuant to 6 C.F.R. §
5.43 and Federal Rule of Civil Procedure 45.

15. Plaintiffs seek an unredacted version of the List that DHS/ICE produced to NILC
in redacted form on April 2, 2019. The List is relevant to the litigation because it reveals the
identities of the Doe Defendants, Who Plaintiffs have alleged engaged in unconstitutional
conduct in the Raid’s execution, including making and implementing the decision to detain and
arrest only the Latino workers If Plaintif`fs do not name the Doe Defendants prior to April 5,
2019 _ the expiration of the statute of limitations period applicable to their claims - they risk
losing their individual and class-wide claims

16. Additionally, the List is relevant to this litigation because it will allow Plaintiffs to
effectuate service on the named and unnamed Defendants and dismiss improperly named
Defendants, if necessary

17. DHS has custody or possession of the List because it already produced it to NILC,
only in redacted form. As is evident by this request for a single document that DHS has already
produced, Plaintiffs are n_ot seeking voluminous discovery from DHS through this subpoena

OTHER CONSIDERATIONS

18. Disclosure of this List is permissible under F ederal Rules of Civil Procedure 26,
34, and 45. The request is narrow and specific, and thus compliance with the subpoena will not
unduly burden the agency.

19. The public interest will be served by disclosure of the List given the pending

litigation in federal court. The Court and the public will be served by having access to the List,

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particularly because it will lift the veil on the Defendants’ identities, thereby narrowing the

issues for the Court and conserving judicial resources
20. Though Plaintiffs do not believe this narrow document request will overburden

the agency, Plaintiffs remain willing to work with DHS to minimize any potential burden this

subpoena could cause.

21. Plaintiffs are willing to pay a reasonable retrieval and copying fee, if necessary,

for the document

22. The disclosure of the List will not affect the impartiality of any litigant in this

case given the limited nature of the document request, nor will this disclosure affect the overall

mission of DHS.

23. Plaintiffs request DHS produce the List with the names and ranks of the agents

unredacted by April 4, 2019 at 12:00 p.m. EST. Plaintiffs request a fi.llly unredacted list by April

15, 2019.

Pursuant to 20 U.S.C. § 1746, I declare under penalty of perjury that each statement that I

have made above is true and correct

Signed this 3d day oprri12019,

 

Meredith B, Stewart

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EXHIBIT
A

Redacted List of Agents
Produced in NILC v. DHS,
l:l9-cv-00866

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()[Hce oflny‘?»'nmrr`c)n 601-mn mere nmi Frimc'_v

U.S. l}cpartmt‘nt of Homeland Serurityl
500 12"‘ St . SW
Washington, D.C\ 20536

U.S. Immigration
and Customs
Enforcement

 

April 2, 2019

l\/lelissa Keaney

NAT!ONAL ll\/Il\/llGRATlON LAW CENTER
3450 Wilshire Boulevard

#108-62

Los Angeles, CA 90010

RE: NATIONAL IMMIGRATION LAW CENTER v ICE; 19-cv-00866
ICE FOIA Case Number 2019-ICLI-00027, 2019~ICFO-32230
First Interim Letter

Dear Ms. Keaney:

This letter is the first interim response to your Freedom oflnformation Act (FOlA) request to
U.S. lmmigration and Customs Enforcement (ICE). dated December 7__ 2018. You have
requested “the identities ofall ICE, HSI, or other Department of`Homeland Security personnel
physically present during a worksite enforcement raid at Southeastern Provision located at 1617
Helton Road. Bean Station, Tennessee. to include the full name. rank or official title, and office

locations."
ICE has considered your request under the FOlA` 5 U.S.C. § 552.

A search of the Of`fice of Homeland Security Investigations (HSl) located records that were
potentially responsive to your request. For this production ICE reviewed 10 pages of potentially
responsive records Portions of these documents will be withheld pursuant to Exemptions ofthe
l-`OIA as described below. These documents have been Bates numbered 2019-1CL1~00027 1

throttin 2019~1CLl-00027 10.

ICE has applied FOIA Exemptions (b)(6)` (b)('/')(C), and (b)(‘?)(E) to portions ofthe pages
produced as described below.

FOIA Exemption 6 exempts from disclosure information in personnel or medical dies and
similar files the release of which would cause a clearly unwarranted invasion of personal
privacy. This requires a balancing of the public’s right to disclosure against the individual’s
right to privacy. The privacy interests of the individuals in the records you have requested
outweigh any minimal public interest in disclosure ofthe infonnation. Any private interest you
may have in that information does not factor into the aforementioned balancing test.

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FOIA Exemption 7(C) protects records or information compiled for law enforcement purposes
when production of such could reasonably be expected to constitute an unwarranted invasion of
personal privacy. Tliis exemption takes particular note of the strong interests of individuals
whether they are suspects witnesses, or investigatorsJ in not being ttnwarrantably associated with
alleged criminal activity. That interest extends to persons who are not only the subjects ofthe
investigation, but those who may have their privacy invaded by having their identities and
information about them revealed in connection with an investigation Based upon the traditional
recognition of strong privacy interests in law enforcement records, categorical withholding of
information that identities third parties in law enforcement records is ordinarily appropriate

lCE has applied FOIA Exemption 7(E) to protect from disclosure internal agency law
enforcement case numbers contained within the document, internal codes used to identify folders
in an internal ICE task management system, law enforcement database category codes, and law

enforcement techniques

FOlA Exemption T(E) protects records compiled for law enforcement purposes the release of
which would disclose techniques and/or procedures for law enforcement investigations or
prosecutions or would disclose guidelines for law enforcement investigations or prosecutions if
such disclosure could reasonably be expected to risk circumvention ofthe law. The disclosure of
certain law enforcement sensitive information contained within the responsive records could
reasonably be expected to risk circumvention of the law. Additionally, the techniques and
procedures at issue are not well known to the public.

lfyou have any questions about this letter, please contact Assistant United States Attorney Diana
V. Valdivia at (202) 252-2545.

Sincerely.
713-rml fw@n%'%/%O'b

Catrina l\/l. Pavlik-Keenan
FOIA Officer

Enclosure(s): 10 page(s)

 

 

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03/19/2018 13:51 EDT

DEPARTMENT OF HOMELAND SECUR|TY
HOMELAND SECUR|TY lNVESTlGATIONS

ENFORCEMENT OPEF{AT|ON PLAN

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Southeastern Provision LLC

 

HS| thce Case Numbe£
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C s ents

 

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Team ead

 

AUSA [ Prosecugor

Meghan Gomez
850-559-1583

 

 

@ice.dhs.gov ice.dhs.gov
B _ f_ Location: Address: Datel'l'ime:
Location: Address: Datel'l`ime:

 

 

Location:
Southeastern Provision

Address:

 

1617 Helton ROad, Bean Station, TN 37708 Apr 5, 2018 9:00 AM

M_HM

 

 

Ty ge of operation
SW - Search Warrant

 

Violations f Charges
v 18USC1341

f 18USC1343

~ 26USC7201

~ 26USC7206

1 BUSCl324lA)[1)(A)(|||)**
- BUSC1326(A)

 

Contra band Descrigtion

 

Premises: Business
|ndustn'al warehouse complex with outbui|dings.

 

Operational Objectives

Service of Federal Search Warrant and a Notice of |nspection for Forms i-Q. Interviewlidentify suspected illegal employees and hiring

officials Assist |RS-C|D with search of premises

Administrative arrests will be processed for removal and a determination on detention will be made pursuant to current detention priority
guidelines Those aliens being federally prosecuted will be turned over to the U.S. Marshals Service for additional judicial proceedings
Those aliens being prosecuted for state charges will be turned over to the Grainger Counry Sher|ft's Otfice for additional judicial

proceedings

 

 

 

03/19/2018 13:51 EDT

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Opera'tion lnformation

 

Brief Summary of lnvestigatien

 

 

Vio|ations f Charges

18U5C134l - FRAUDS AND SW|NDLES

 

Violations l Charges

18U5C1343 » FRAUD BY WIRE, RAD|O OR TELEV[SION

 

Violations l Charges

26USC7201 * ATTEMPT TO EVADE OR DEFEAT TAX

 

Violations f Charges

26USC7206 - FRAUD AND FALSE STATE|V|ENTS

 

Vio|ations l Charges

8U5C1324(Al(1l(A){|||)** - HARBOR|NG AL|ENS

 

 

Violations / Charges

 

8USC1326(A) - RE-ENTRY AFI'ER DEPORTAT|ON

 

 

 

 

 

 

 

 

Deconfliction

High Risk Operation? No

Tit|e 21 lnvestigation? No

Operation Deconflicted? Yes

Methods of Deconf|iction _
Operation Has Conflicts? No

Loca| Law Enforcement Notified? Yes

 

Notified Lecal Law Enforcement
|nformation
Agency Or Department
Contact Name

Tennessee Highway Patrol-C|D

 

 

Undercever Operatives?

 

 

No

 

 

Communications & Safety

 

Nearest Trauma Center

Trauma Center Name
Address
Phone

UT Medica| Center
1924 A|coa Highway, |<noxvi||e, TN 37920
8653059000

 

Nearest Hospital

Hospita| Name
Address
Phone

 

 

Morristown Hamb|en Medica| Center
908 W 4th North Street, |V|orristown, TN 37814
4234929000

 

 

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Potential lHazards

WP - Weapons

 

Hazard or Safety Notes

lt is anticipated that employees will be in possession of knives, saws, and other cutting tools.

 

Radie

Primary Radio
Secondary Radio

 

 

Sector Contact Number

8009?32867

 

Cnmmand Center

Command Center Name

 

 

 

 

 

Other Considerations

 

Equipment Required

 

 

Ai:tire

Type

TD - Tactica| Dress

 

Prisoner Processing Location

Locatior\ Name
Address

Army Nationa| Guard
5255 E Andrewjohnson Highway. Morristown, TN 37860

 

Air Support?

Ye$

 

Air Support lnforrnation

Ca|| Sign
Type Of Aircraft

 

 

Air Suppor't Information

Ca|l Sign
Type Of Aircraft

 

Seized Property Specialist
Participating?

z
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Foreign Language Required?

YES

 

Language(s)

SPA - Spanish

 

How will Language needs be met?

HSl/ERO and |RS Spanish speaking personnel.

 

 

 

 

Computer Forensics Agent Needed? No
Technical Enforcement Officer NO
Needed?

Victim/Witness Assistance Needed? No
Fotential Media Attention? Yes

 

Pub|ic Affairs Officer

Name
Phone

 

 

 

 

 

 

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SOUTHEASTERN PROV|S|ON LLC

 

Doing Business As

 

Address(es)
No |Vlugshot Avalible 1617 He|ton Road. Bean Station, TN -
TENNESSEE 37708 US - UN|TED STATES

Organization |d

 

Vehic|e Descriptions

 

History of Vio|ence

 

 

Crimina| History

 

Remarks

 

Cattle S|aughterhouse. l<nives and cutting tools are expected to be present and in the possession of multiple subjects

 

 

 

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Operation Approval History

 

First-Line Approval 1033 - RES!DENT AGENT iN CHARGE
March 19, 2018 17:48:34.404 +00:00

 

Second»Line Approval 1002 - ASS|STANT SPEClAL AGENT |N CHARGE
March 19, 2018 17:51:06.815 +00:00

 

 

 

 

 

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